        Case 3:00-cr-00071-RP Document 200 Filed 02/27/17 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA


                                          )
UNITED STATES OF AMERICA,                 )
                                          )   Criminal No. 3:00-CR-0071
            v.                            )
                                          )   RESISTANCE TO DEFENDANT’S
JUAN LEDEZMA-RODRIGUEZ,                   )   MOTION TO REDUCE
                                          )   SENTENCE
            Defendant.                    )
                                          )

      The United States respectfully files its resistance to defendant’s Motion to

Reduce Sentence (Court’s Docket No. 199).


      Defendant’s motion is premised on United States v. Holloway, 69 F.Supp.3d

310 (E.D.N.Y. 2014), where the government endorsed the defendant’s request for a

reduced sentence. But the government has not conceded the issue in this case and,

thus, contends that the Court lacks the authority to reduce defendant’s sentence on

this theory. See, e.g., United States v. Brown, 2016 WL 4745822 (N.D. Ohio 2016);

Acuna v. United States, 2016 WL 3747531 (D. Hawaii 2016).
             Case 3:00-cr-00071-RP Document 200 Filed 02/27/17 Page 2 of 2




          Accordingly, defendant’s Motion to Reduce Sentence should be denied.


                                                         Respectfully submitted,

                                                         Kevin E. VanderSchel
                                                         United States Attorney


                                                   By:    /s/ Andrew H. Kahl
                                                         Andrew H. Kahl
                                                         Assistant United States Attorney
                                                         U. S. Courthouse Annex, Suite 286
                                                         110 East Court Avenue
                                                         Des Moines, Iowa 50309
                                                         Tel: (515) 473-9300
                                                         Fax: (515) 473-9292
                                                         Email: Andrew.Kahl@usdoj.gov




CERTIFICATE OF SERVICE

I hereby certify that on February 27, 2017, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

  x    U.S. Mail         Fax    Hand Delivery

      ECF/Electronic filing    Other means


UNITED STATES ATTORNEY

By: /s/ A. Kahl
  AUSA
